 8:13-cv-00143-LSC-FG3 Doc # 192 Filed: 05/19/15 Page 1 of 2 - Page ID # 3617



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


DORAN SCHMIDT, individually; and
S.S., a minor, by and through Doran
Schmidt, her natural mother and next                             8:13CV143
friend;

                     Plaintiffs,                        ORDER OF DISMISSAL

      vs.

HEATHER RAMSEY, APRN-CNM; THE
MIDWIVES PLACE LLC, BELLEVUE
MEDICAL CENTER L.L.C.,
                     Defendants.


      This matter is before the Court on the Joint Stipulation to dismiss Plaintiffs’

claims against Defendants Heather Ramsey, APRN-CNM, and the Midwife’s Place, LLC

(Filing No. 190). The Stipulation complies with Federal Rule of Civil Procedure

41(a)(1)(A)(ii), and the Court concludes that it should be approved. The above-

captioned action will be dismissed with prejudice. The parties will bear their own costs.

Accordingly,

      IT IS ORDERED:

      1. The Joint Stipulation to dismiss with prejudice (Filing No. 190) is approved;

      2. Plaintiffs’ claims against Defendants Heather Ramsey, APRN-CNM, and the

            Midwife’s Place, LLC are dismissed with prejudice;

      3. The Clerk of Court is directed to change the case caption to reflect that

            Defendants Heather Ramsey, APRN-CNM, and the Midwife’s Place, LLC

            have been dismissed;

      4. The proposed order that appears at Filing No. 191 is denied as moot; and
8:13-cv-00143-LSC-FG3 Doc # 192 Filed: 05/19/15 Page 2 of 2 - Page ID # 3618




    5. The parties to the Joint Stipulation (Filing No. 190) will bear their own costs

       with respect to Plaintiffs claims against Defendants Heather Ramsey, APRN-

       CNM, and the Midwife’s Place, LLC.

    Dated this 19th day of May, 2015

                                             BY THE COURT:

                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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